                     Case 23-01031-PDR              Doc 12     Filed 02/22/23      Page 1 of 2

                                Vital Pharmaceuticals, Inc. and JHO Intellectual Property Holdings, LLC v.
                                Orange Bang, Inc. and Monster Energy Company; Adv. No. 23-01031-PDR

                                          CERTIFICATE OF SERVICE
I, Jordi Guso, certify that service of the:

  •      Debtors’ Adversary Complaint for Declaratory Judgment [ECF No. 1];

  •      Motion for Summary Judgment and Incorporated Memorandum of Law [ECF No. 2];

  •      Declaration of Elizabeth A. Morris in Support of Debtors’ Motion for Summary Judgment and
         Incorporated Memorandum of Law [ECF No. 3];

  •      Plaintiffs’ Motion (I) to File Redacted Version of Final Arbitration Award (Exhibit 2 to Declaration of
         Elizabeth A. Morris in Support of Debtors’ Motion for Summary Judgment and Incorporated
         Memorandum of Law); and (II) to File Unredacted Version of Final Arbitration Award Under Seal [ECF
         No. 4];

  •      Summons and Notice of Scheduling Conference in an Adversary Proceeding [ECF No. 8];

  •      Order Setting Scheduling Conference and Establishing Procedures and Deadlines [ECF No. 9]; and

  •      Order Granting Plaintiffs’ Motion (I) to File Redacted Version of Final Arbitration Award (Exhibit 2 to
         Declaration of Elizabeth A. Morris in Support of Debtors’ Motion for Summary Judgment and
         Incorporated Memorandum of Law); and (II) to File Unredacted Version of Final Arbitration Award Under
         Seal [ECF No. 10];

was made on February 22, 2023, by:

 Mail service: Regular, first class United States mail, and Certified Mail, Return Receipt Requested, postage
fully pre-paid; postage fully pre-paid, addressed to:

Orange Bang, Inc.                       Monster Energy Company
Attn.: David Fox, Agent                 Attn.: The Prentice Hall Corporation System, Inc.,
13115 Telfair Ave.                      Registered Agent
Sylmar, CA 91340                        251 Little Falls Drive
                                        Wilmington, DE 19808

 Mail service: Regular, first class United States mail, postage fully pre-paid; postage fully pre-paid, addressed
to:
Nir Maoz, Esq.                                G. Steven Fender, Esq.           Michael I. Goldberg, Esq.
KTBS Law LLP                                  Fender Bolling and Paiva, P.A.   Eyal Berger, Esq.
Counsel for Orange Bang, Inc.                 Counsel for Orange Bang, Inc.    Akerman LLP
1801 Century Park East, 26th Fl.              P.O. Box 1545                    Counsel for Monster Energy Company
Los Angeles, CA 90067                         Fort Lauderdale, FL 33302        201 E. Las Olas Blvd., Ste. 1800
                                                                               Fort Lauderdale, FL 33301

Richard M. Pachulski, Esq.
Pachulski Stang Ziehl & Jones LLP
Counsel for Monster Energy
Company
10100 Santa Monica Blvd.
13th Floor
Los Angeles, CA 90067-4003
11919812-1
                    Case 23-01031-PDR            Doc 12      Filed 02/22/23       Page 2 of 2

                              Vital Pharmaceuticals, Inc. and JHO Intellectual Property Holdings, LLC v.
                              Orange Bang, Inc. and Monster Energy Company; Adv. No. 23-01031-PDR



□        Personal Service: By leaving the process with defendant or with an officer or agent of defendant at:

□        Residence Service: By leaving the process with the following adult at:

□        Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail
         addressed to the following office of the defendant at:

□        Publication: The defendant was served as follows: [Describe briefly]

□        State Law: The defendant was served pursuant to the laws of the State of _________ as follows



If service was made by personal service, by residence service, or pursuant to state law, I further certify that I
am, and at all times during the service of process was, not less than 18 years of age and not a party to the
matter concerning which service of process was made.

Under penalty of perjury, I declare that the foregoing to be true and correct.


    02/22/2023                                             /s/ Jordi Guso
     Date                                                         Signature

              Print Name: Jordi Guso, Esq.
                          Berger Singerman LLP

              Address:        1450 Brickell Avenue, Suite 1900

              City: Miami                      State: FL                          Zip: 33131




11919812-1
